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                                                                                              FILED
                                                                                       September 25, 2024
                            IN THE UNITED STATES DISTRICT COURT                        CLERK, U.S. DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS                         WESTERN DISTRICT OF TEXAS

                                      AUSTIN DIVISION                                          Julie Golden
                                                                                    BY: ________________________________
                                                                                                            DEPUTY


WENDY DAVIS, DAVID GINS, and       §
TIMOTHY HOLLOWAY,                  §
                                   §
           Plaintiffs,             §
                                   §
v.                                 §                                      1:21-CV-565-RP
                                   §
ELIAZAR CISNEROS, RANDI CEH, STEVE §
CEH, JOEYLYNN MESAROS, ROBERT      §
MESAROS, and DOLORES PARK,         §
                                   §
           Defendants.             §

                                                 ORDER

           A jury trial was held in this matter from September 9, 2024, through September 23, 2024.

Seven jury members served on the jury for all eleven days of trial. Under 18 U.S.C. § 1871(b)(1), a

juror shall be paid an attendance fee of $50 per day for actual attendance at a trial. “A petit juror

required to attend more than ten days in hearing one case may be paid, in the discretion of the trial

judge, an additional fee, not exceeding $10 more than the attendance fee, for each day in excess of

ten days on which he is required to hear such case.” Id. § 1871(b)(2).

           Having found that the seven jurors dutifully performed their jury service in this case for

more than ten days, IT IS ORDERED that the jurors shall be paid $60 for their eleventh day of

service.

           SIGNED on September 25, 2024.


                                                          ________________________________
                                                          ROBERT PITMAN
                                                          UNITED STATES DISTRICT JUDGE




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